Case 12-51027 Doc 118

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

IN RE:

JOHNNY RAY MOORE

: CHAPTER 11
DEBTOR

: CASE NO. 12-51027 AHWS
JPMORGAN CHASE BANK NATIONAL ASSOCIATION
THE BANK OF NEW YORK MELLON

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FKA THE BANK OF NEW YORK, AS TRUSTEE FOR =
THE CERTIFICATEHOLDERS OF THE CWABS INC., °
ASSET-BACKED CERTIFICATES, SERIES 2006-12 22

MOVANTS
VS. ro.
JOHNNY RAY MOORE
DEBTOR
RESPONDENT

: JANUARY 16, 2013
OBJECTION TO PROPOSED JOINT SCHEDULING ORDER

The Debtor in the above Captioned respectfully files this Objection to a Status Conference Hearing filed with

 

The Court on January 15, 2013 by Linda St. Pierre, Esq., do to the fact the Movant’s have failed to submit
a Pre-Trial Order by January 16, 2012 which was ordered by the Court on December 20, 2012 after the
hearing regarding the proof of claims filed by the Movant’s and the Debtor’s Objection to them. Please see
Court transcript of hearing Exhibit 1.The Debtor having received a phone call from Ana M. Fidalgo Esq. of the
Law Firm of Bendett McHugh agreed to allow counsels to file extension of time to submit a Pre-Trial Order.
Exhibit 2. The Court issued an order granting the motion for extension of time to submit pre-trail order. See
Exhibit 3. The Movant’s having failed to submit their Pre-Trial Order by January 16, 2013 as so Order
by this Court; the Movant now seek to circumvent the Debtor rights to a trial. Having presented no
evidence to this Court to support the Movant’s proof of claim and having now failed to submit its Pre-Trail
Order the Movant’s seeks to have its proof of claim granted by this Court based on Oral argument only.
And therefore has filed a Proposed Joint Scheduling Order on behalf of the Debtor asking the Court
for a Conference Hearing instead of filing its Pre-Trail Order as ordered. The Debtor respectfully

would like to remind the Court that on December 20, 2013 the Court stated on the record that if the
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Movant’s failed to submit Pre-Trial Order, then the Court would issue the Order on behalf of the
parties. In addition the Debtor would also raise this issues before the Court as further reason that this

Conference Hearing should not be granted and should be over ruled and the Pre-Trial Order should be sustained

 

as so Ordered by this honorable Court on December 20, 2012. This would insure that the Debtor rights to Due
Process may not be suppressed or denied by these the Movant’s.

The Debtor further represents the following reasons why this Proposed Joint Scheduling Order should be

 

Denied:

1) Linda St. Pierre Esq. On January 15, 2013 had no legal right to speak on behalf of The Bank of New

 

 

York Mellon fka The Bank of New York, as Trustee for the Certificateholders of the CWABS Inc.
Asset-Backed Certificates, Series 2006-12 (herein called “this Movant”) because this is a separate
matter before this Court and counsel for this Movant was not present in Court or any representative
thereof.

2) The Law Firm of Hunt Leibert Jacobson P.C. of which Linda St. Pierre Esq. works for representing the i
Interest of JPMorgan Chase Bank N.A in the above captioned has not filed an appearance with this Court to

represent this Movant or filed a Proof of Claim and has no legal authority to represent, speak on behalf of this
Movant as to Claim No: 15.

3) Linda St. Pierre Esq., has not been hired by and does not have any bono fide contract or any interest

in the matter of Johnny Ray Moore, the Debtor and this Movant and therefore lacked standing before

this Court to include this Movant in any Status Conference Hearing or having the legal authority to

file a Proposed Joint Scheduling Order of behalf of this Movant.

3) This Movant filed a Motion for Extension of time to submit a Pre-Trail Order by January 16, 2013 and was

granted by this Court on January 2, 2013 and if this Movant wanted enter into this proposed

joint scheduling order then counsel for this Movant should have been in Court.

4) The Debtor is not in agreement of the Proposed Joint scheduling Order that Linda St. Pierre has

Submitted on behalf of JPMorgan Chase Bank N.A. (“the Movant”) to this Court on behalf of the
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Debtor because the Movant seeks to have the Court grant its proof of claims without presenting any

Bono fide evidence or witnesses who having any first hand knowledge as to the facts and can be cross
examined by the Debtor regarding the Movant’s alleged ownership Claim’s of the Notes and would offer no
evidence that can contradict the evidence presented by the Debtor on December 17, 2012 and put on the record
on December 20, 2012 hearing.

5) The Status Conference hearing instead of to pre trial hearing would deny the Debtor due process by
Allowing the Court to Grant the Movant’s alleged proof of claim without the Movant’s having to

present evidence or any competent fact witness having first hand knowledge that can offer testimony with
regards to the Original wet ink note and that can be crossed examined by the Debtor.

6) The Movant’s seek to use the Status Conference hearing to deny the Debtor the rights to Discovery,

Present the Debtor’s witness to testify in support of their Affidavits and Exhibits that the Debtor has already

 

submitted to this Court on November 5, 2012 and December 17, 2012 established on the Court record at the
hearing that was held on December 20, 2012.
7) The Debtor has obtained additional evidence against JPMorgan Chase Bank N.A. as to the Movant’s alleged

proof of claim as to claim no: 16.

WHEREFORE, with all of the above said the Debtor respectfully moves this Honorable Court to deny this

 

Proposed Joint Scheduling Order because all parties where not present in Court and Linda St. Pierre Esq.
lacked Standing and had no legal right or legal authority to represent the legal interest in the matter of The
Bank of New York Mellon Fka The Bank of New York, as Trustee for the Certificateholders of the

CWABS Inc., Asset-Backed Certificates, Series 2006-2012, and Johnny Ray Moore, the Debtor.

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(203) 395-4282

 

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CERTIFICATION

| hereby certify that a copy of the foregoing of the attached ORDER was served upon the following
parties by email class and priority mail postage paid on January 16, 2013.

The following Order delivered by email to:

Andrew S. Cannella on behalf of Creditor The Bank of New York Mellon
bkecf@bmpc-law.com

Ana M. Fidalgo on behalf of Creditor The Bank of New York fka The Bank of New York, as Trustee
for the Certificateholders of the CWABS, Inc., Asset-Backed Certificates, Series 2006-12
afidalao@bmpc-law.com

Linda St. Pierre on behalf of Creditor JPMorgan Chase Bank, National Association
bankruptcy@huntleibert.com, Istpierr@huntleibert.com

Gerald A. Gordon on_ behalf of Creditor JPMorgan Chase, National Association
ggordon@huntleibert.com

Holley L. Claiborn on behalf of U.S. Trustee U.S. Trustee Office of The United States Trustee
Holley.L.Claiborn@usdoj.qov

Molly T. Whiton on behalf of Trustee Molly Whiton
mtwhiton@mtwhiton.com

Dean Russell Prober of behalf of Creditor Bank of America, N.A. Bankruptcy Department
cmartin@pralc.com

Maria A. Santos on behalf of Creditor State of CT, Dept of Revenue Services

Maria.santos@ct.gov
The following Order was mailed on January 10, 2013 by first class Priority Mail postage paid to:

Oak Harbor Capital VI, LLC Azurea |, LLC

c/o Weinstein & Riley, P.S. c/o Weinstein & Riley

2001 Western Avenue.,Ste 400 2001 Western Avenue Ste., 400
Seattle, WA 98121 Seattle, WA 98121

PRA Receivables Management LLC
POB 41067
Norfolk, VA 23541

 

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Shelton CT 06484
(203) 395-4282
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
In Re: 12-51027-ahws Chapter {1 Proceeding

Johnny Ray Moore
Debtor

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The Bank of New York Mellon fka The )
Bank of New York, as Trustee for the )
Certificateholders of the CWABS Inc., _)
Asset-Backed Certificates, Series 2006- _)
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Movant

vs.

Johnny Ray Moore
and Molly T. Whiton , Trustee

Respondent December 27, 2012

ASSENTED TO MOTION FOR EXTENSION OF TIME TO SUBMIT A
PRE-TRIAL ORDER

The Creditor, The Bank of New York Mellon fka The Bank of New York, as Trustee
for the Certificateholders of the CWABS Inc., Asset-Backed Certificates, Series 2006-12
(hereby the “Creditor’’) together with JPMorgan Chase Bank, National Association (hereinafter
“Chase”) and the Debtor, Johnny Ray Moore (the “Debtor”) respectfully request that this Court
extend the deadline to file a pre-trial order pertaining to the Debtor’s Objections to Claims 13,

15, 16 and 17 to January 16, 2013. In support thereof, Creditor states the following:

1. The pre-trial order is currently due January 2, 2013.

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UNITED STATES BANKRUPTCY COURT
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Johnny Ray Moore
Debtor

The Bank of New York Mellon fka The
Bank of New York, as Trustee for the
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Movant

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Chapter 11 Proceeding

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ORDER GRANTING MOTION
TO EXTEND TIME TO SUBMIT PRE-TRIAL ORDER

After notice, see Bankruptcy Code Section 102(1), on The Bank of New York Mellon
fka The Bank of New York, as Trustee for the Certificateholders of the CWABS Inc., Asset-
Backed Certificates, Series 2006-12, (hereafter, the “Movant”), Motion To Extend Time To
Submit Pre-Trial Order , (hereafter, the “Motion”) Doc. I.D.No. _:

IT IS HEREBY ORDERED that an extension of time until January 16, 2013 is

granted.

Dated:

BY THE COURT

 

Honorable Alan H. W. Shiff
U.S. Bankruptcy Judge

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JPMorgan Chase Bank, N.A. Specialized Loan Services

700 Kansas Lane 8742 Lucent Blvd, Suite 300

Mail Code LA4-5555 Highlands Ranch, Colorado 80129-2386
Monroe, LA 71203-4774 Attn: President

Attn: President Via First Class Mail

Via First Class Mail

Bank of America, N.A.

P.O. Box 26012
NC4-105-02-99

Greensboro, NC 27420-6012
Attn: President

Via First Class Mail

Gerald A. Gordon, Esq.
on behalf of JPMorgan Chase Bank, National Association, Creditor

Bank of America, N.A.
c/o Prober & Raphael A Law Corporation, Creditor

Linda St. Pierre, Esq.
on behalf of JPMorgan Chase Bank, National Association, Creditor

Maria A. Santos, Esq
on behalf of State of CT, Dept. of Revenue Services Creditor

Mark L. Bergamo, Esq.
on behalf of TOWER LIEN LLC, Creditor

By /s/ Ana M. Fidalgo
Ana M. Fidalgo

Movant’s Attorney

Federal Bar No.ct.28353

Bendett & McHugh, P.C.

270 Farmington Avenue, Suite 151
Farmington, CT 06032

Phone: (860) 677-2868

Fax: (860) 409-0626

E-Mail: BRECF@bmpc-law.com
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Respondent

ORDER GRAN TIO
O EXTEN E -

After notice, see Bankruptcy Code Section 102(1), on The Bank of New York Mellon
fka The Bank of New York, as Trustee for the Certificateholders of the CWABS Inc., Asset-

Backed Certificates, Series 2006-12, (hereafter, the “Movant”), Motio To

Submit Pre-Trial Order , (hereafter, the “Motion”) Doc. I.D. No¢ :
TT IS HEREBY ORDERED that an extension of time until January 16, 2013 is
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BY THE COURT

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Honorable Alan H. W. Shi
U.S. Bankruptcy Judge

    

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